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10 Attorneys for United States of America

11                                UNITED STATES DISTRICT COURT

12                               NORTHERN DISTRICT OF CALIFORNIA

13                                     SAN FRANCISCO DIVISION

14   UNITED STATES OF AMERICA,                            Criminal No. 3:21-CR-00155-JD

15           Plaintiff,                                   STIPULATION AND [PROPOSED]
                                                          SCHEDULING ORDER
16
                            v.
17
     CARLOS E. KEPKE,
18
             Defendant.
19

20          With the agreement of the parties, the Court enters the following Scheduling Order:

21          By May 20, 2022, all motions to transfer venue must be filed.

22          By May 27, 2022, all motions to dismiss or to sever based on the face of the operative

23 indictment, or any other motion based on the face of the operative indictment, must be filed.

24          By June 30, 2022, all Rule 8 motions, motions for bills of particulars, or motions for discovery of

25 jury composition records must be filed.

26          By July 11, 2022, any motion by the government to keep secret the names and identities of

27 civilian witnesses must be filed.

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 1          By October 17, 2022, all materials required under Rule 16 to be produced by the government

 2 must be produced to any defendant that has made a written Rule 16 request. All such Rule 16 materials

 3 acquired thereafter by the government or any of its agents subject to Rule 16 must be produced within

 4 TWENTY-ONE CALENDAR DAYS of receipt or acquisition by government counsel or its agent to

 5 any defendant that has made a written Rule 16 request, unless such production would result in defense

 6 counsel receiving any such Rule 16 materials within a week of the start of trial (or any time after then),

 7 in which case the government must produce any such Rule 16 materials as soon as practicable and

 8 within SEVEN CALENDAR DAYS of receipt or acquisition by government counsel or its agents.

 9          By November 21, 2022, motions for a determination pursuant to 18 U.S.C. § 4241(a) must be

10 filed, except that any such motion shall not be deemed untimely if based on a change in the mental or

11 physical health of Defendant Carlos E. Kepke documented after November 21, 2022.

12          By November 21, 2022, all motions to suppress, motions alleging any defect in instituting the

13 prosecution, motions for disclosure of informants, or motions alleging selective prosecution must be

14 filed.

15          By November 21, 2022, all government expert reports shall be produced to defense counsel.

16          By December 23, 2022, all Rule 16 defense reciprocal disclosures, including expert reports and

17 rebuttal expert reports, must be produced to the government and all Rule 12.1 and 12.2 defense notices

18 must be given.

19          By January 23, 2023, all rebuttal expert reports by the government shall be produced to defense

20 counsel.

21          By February 17, 2023, all Daubert or other motions directed at expert reports must be filed.

22          By February 27, 2023, the government must make the disclosures listed in Criminal Local Rule

23 16.1-1(c)(1) through (4).

24          By March 13, 2023:

25          1.      The parties shall file a joint pretrial statement that addresses all items listed in Criminal

26                  Local Rule 17.1-1(b).

27          2.      The parties shall file a joint set of proposed jury instructions. Any disagreement should

28                  be noted, and each party should provide its position.

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 1          3.       The parties shall file a joint set of proposed voir dire questions. Any disagreement should

 2                   be noted, and each party should provide its position.

 3          4.       The parties shall file a joint proposed verdict form.

 4          5.       The parties shall file separate witness lists.

 5          6.       The parties shall file separate exhibit lists.

 6          7.       The parties may file trial memoranda.

 7          8.       The government shall advise the Court that it has produced all Brady-Giglio information

 8                   in its possession and will continue to produce any the government subsequently

 9                   discovers.

10          9.       All translations or transcripts of conversations or statements to be shown to the jury must

11                   be produced, any motions directed to their accuracy shall be heard at the final pretrial

12                   conference.

13          10.      The parties shall file all motions for the final pretrial conference, including any motions

14                   in limine as well as any of the following:

15                   a..     Motions to exclude/include co-conspirator statements;

16                   b.      Motions to exclude/include Rule 404(b) acts; and

17                   c.      Motions directed at the accuracy of transcripts of recordings to be shown to the

18                           jury.

19          On April 10, 2023, the final pretrial conference shall be held at 10:30 A.M.

20          On May 1, 2023, trial shall commence at 9:00 A.M. with jury selection.

21          Unless otherwise indicated, all motions filed in accordance with this scheduling order will be

22 heard according the Court’s Local Rules.

23          The undersigned attorney for the government certifies that he has obtained approval from

24 counsel for the Defendant to file this stipulation and proposed order.

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 1    IT IS SO STIPULATED.                             STEPHANIE M. HINDS
                                                       United States Attorney
 2
                                                       s/ Michael G. Pitman
 3                                                     COREY J. SMITH
                                                       Senior Litigation Counsel
 4                                                     MICHAEL G. PITMAN
                                                       Assistant United States Attorney
 5
                                                       Attorneys for United States of America
 6

 7
                                                       s/ Grant P. Fondo
 8
                                                       GRANT P. FONDO
 9
                                                       Attorney for Defendant Carlos E. Kepke
10

11

12    IT IS SO ORDERED.
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14    Dated: ___________________                       ____________________
                                                       JAMES DONATO
15                                                     United States District Judge
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